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causeno,_ 2006-14803

THOMAS INDUSTRIAL NETWORK, INC.
and PRODUCT INFORMATION NETWORK,

INC.

IN THE DISTRICT COURT OF

Plaintiffs,

vs. HARRIS COUNTY, TEXA
PEASE MEDIA, LTD., d/b/a TOPSPOT
INTERNET MARKETING SOLUTIONS,
RICK PEASE MEDIA, L.L.C., RICHARD
PEASE, JEFF MONTGOMERY, DAVID
UNDERWOOD and ANITA PEREZ

 

| 49 JUDICIAL DISTRICT

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Defendants,

PLAINTIFES’? GRIGINAL PETITION

TO THE HONORABLE COURT:

Plaintiffs Thomas Industrial Network, Inc. (“Thomas”) and Product Information
Network, Inc. (“PINI") file this their Original Petition complaining of Pease Media, Ltd., d/b/a
TopSpet Internet Marketing Solutions, Rick Pease Media, L.L.C., Richard Pease, Jeff
Montgomery, David Underwood, and Anita Perez (collectively the “Defendants”), and for cause

of action show as follows:

 

DISCOVERY PLAN LEVEL
i Plaintiffs intend to conduct discovery under Level 3 of Texas Rule of Civil
Procedure 190.
JURISDICTION AND VENUE
2. Venue is proper in this Court pursuant to TEX. CIv. Prac, & REM. Cong 815.002.

This Court has subject matter jurisdiction of this matter,

 

 

 
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PARTIES TO THE ACTION

3, Plaintiff Thomas is a corporation duly organized and existing under the laws of
the State of Delaware, and with its principal place of business in New York, New York.

4, Plaintiff PINI is a corporation duly organized and existing under the laws of the
State of Delaware and with its principal place of business in New York, New York.

5, Defendant Pease Media, Ltd. (“Pease Media”) is a domestic limited partnership
organized under the laws of the State of Texas. Upon information and belief, Pease Media
curently does business under the name “TopSpot Internet Marketing Solutions” or “TopS pot.”
Pease Media may be served with process by and through its registered agent for service of
process, Richard Pease, at 4545 Post Oak Place, Suite 120, Houston, Texas 77027, or such other
location where he may lawfully be served.

6. Defendant Rick Pease Media, L.L.C. (“Pease LLC”) is a limited liability company
duly organized and existing under the laws of the State of Texas. Pease LLC is the general
partner of Pease Media and may be served with process by and through its registered agent for
service of process, Richard Pease, at 4545 Post Oak Place, Suite 120, Houston, Texas 77027, or
such other location where he may lawfully be served.

7, Defendant Richard Pease (“Pease”) is a resident of the state of Texas and may be
served with process at 4545 Post Oak Place, Suite 120, Houston, Texas 77027, or such other
location where he may lawfully be served,

8, Defendant Jeff Montgomery (“Montgomery”) is a resident of the state of Texas
and may be served with process at 4545 Post Oak Place, Suite 120, Houston, Texas 77027, or

such other location where he may lawfully be served.

 
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9. Defendant David Underwood (“Underwood”) is a resident of the state of Texas
and may be served with process at 4545 Post Oak Place, Suite 120, Houston, Texas 77027, or
such other location where he may lawfully be served,

10. Defendant Anita Perez (“Perez”) is a resident of the state of Texas and may be
served with process at 4545 Post Oak Place, Suite 120, Houston, Texas 77027, or such other
location where she may lawfully be served.

FACTUAL BACKGROUND

The Thomas Register

 

li. Thomas is a publisher of multimedia business publications bearing the Thomas
Marks, including Thomas Register, Thomas Regional, Thomas Register Regional, Thomasnet,
PartSpec, PlantSpec, CADBlocks, Catalog Navigator, Custom Quotes and CADRegister.
Thomas publishes, inter alia, Thomas Register of American Manufacturers, a comprehensive
annual printed directory containing listings, and in some cases descriptions, of manufacturing
and other industrial products, services, companies and executives (which is also offered, as
Thomas Register, in CD-ROM and DVD versions), and Thomas Register on the Internet® (d/b/a
Thomas Register®), the online version of the directory (the “Thomas Register”) and
Thomasnet.com, an online directory/search engine providing access to Thomas Online
publications. All versions of the directory are supported principally through revenues from the
sale of business-io-business advertising to manufacturing and other industrial companies.

12. The print version of Thomas Register is a 16-volume work, revised and published
annually, that lists more than 190,000 American and Canadian tnanufacturing and other
industrial companies selling millions of products. The work ig organized both alphabetically by

the name of the company and under an elaborate series of product headings. The cormpany

 
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listings contain narrative text descriptions of each company as well as the company’s address and
telephone number. The product listings contain a narrative description of the products sold by
each company and refer users to detailed catalog information contained in other volumes of the
work. The print edition of Thomas Register is sold to customers by subscription, Nonetheless,
most of the revenues which Thomas receives from it are produced by business-to-business
advertising placed in it by listed companies.

13. The CD-ROM and DVD editions of the Thomas Register and the CD-ROM
edition of Thomas Regional are likewise revised and published annually und contain much the
same information as is in the print version but are compatible with networks and enhanced by a
search function that allows users to access the information more quickly from their desktop
computers. These versions are also sold by subscription and contain advertising by the listed
companies that provides the major source of the revenue they generate,

id, The online version of Thomas Register, ThomasRegister.com, Thomas Regional,
Thomasregional.com and Thomasnet.com are free services, supported by advertising revenues
that contain many of the same features as the other Thomas Register versions, including the
company profiles and product headings. Besides quick and easy searching, its enhanced features
include more frequent updates, links to many suppliers’ online catalogs with detailed buying and
specifying information, the ability for users to send e-mails directly to listed companics with
orders or requests for quotes, downloadable drawings for numerous products and “Order
Online,” “Catalog Navigator” and website services providing content management and
production.

15. Thomas has a business and contractual relationship with each Thomas Register

advertiser,

 
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16. Within the inanufacturing and industrial sector, Thomas Register, Thomas
Regional and Thomasnet are universally identified with Thornas and vice versa.

Thomas Advertising- Sales and Pease Media’s Role

\7, Under license from Thomas, PINI is responsible for soliciting and selling
advertising nationwide for all versions of the Thomas multimedia business products. To
accomplish this, PINI contracts through licensing agreements with independent sales
representatives, calied “Seniors,” to carry out the actual solicitation of orders for sales in various
regions of the country.

18. The Senior is compensated by PIN] on a commission basis. Each Senior is
assigned a territory to cover, and typically the Senior employs or contracts with salespeople and
others fo assist in the work. The Senior is provided with the contact names and customer profiles
of existing and previous Thomas advertisers, whose contractual and business relationships with
PINT and Thomas predated the Senior’s license agreement with PINI, and also with leads
generated by Thomas regarding potential future clients, Using the Thomas name, resources,
business reputation, and other PINI and Thomas proprietary information, Seniors may identify
and obtain additional Thomas advertisers.

19. Once solicited by the Senior, orders for such advertising are sent to Thomas in
New York, New York for approval or rejection.

Pease Media Breaches The License Agreement By Competing With Thomas

20. In December 2003, PINI and Pease Media executed a License Agreement under
which Pease Media agreed to serve as a Senior for PINI. A true and correct copy of the License
Agreement is attached hereto as Exhibit A and incorporated by reference. Pease Media has held

a nonexclusive license from PINI to solicit advertising orders for Thomas publications for many

 

 
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years, Upon information and belief, Pease Media associated with Pease, Montgomery,
Underwood, and Perez to assist Pease Media in fulfilling its contractual obligations to PINT and
Thomas.

21, Although the License Agreement provided for Pease Media and its staff to pursue
other occupational activities and work while providing services for PINI and Thomas, the
License Agreement provided that Pease Media could not pursue any work that conflicted with
the services being provided for PINI and Thomas. In that regard, Paragraph 7 of the License
Agreement states:

Licensee [Pease Media] and its contractors, consultants, agents and
employees may pursue any other occupation and engage in any

other work, business or activity which does not conflict with the
services to be rendered under this Agreement or which does not

utilize or gain advantage from “trade secret’ information of PINI
and/or Publishers [Thornas] in the pursuit of such work, business
or activity,

Exh. A.@7,

22. Notwithstanding its contractual obligations, Pease Media did engage in actions
that conflicted with the services being rendered to PIN] under the License Agreement.

23. Specifically, during 2004, Pease Media began to urge and advise existing Thomas
clients to refrain from continuing to advertise through Thomas -- or severely reduce advertising
with Thomas -- and to instead advertise through a pay-per-click program.

24. Upon information and belief, Pease Media, while doing business under the name
TopSpot, offered internet marketing consulting services through, among other things, pay-per-
click advertising management on Googie and Overture. Through pay-per-click advertising, a fee

is charged by a search engine company based upon the number of visits or hits to the advertiser’s

website through the search engine’s services. Upon information and belief, Pease Media receives

 

 
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compeusation irom set up, management, and consulting fees as weli as additional charges based
upon, among other things, the fee charged by the search engine.

25. Upon information and belief, as a result of Pease Media’s solicitations for pay-
pet-click advertising programs while Pease Media was still a Senior for Thomas, many Thomas
customers -- at Pease Media’s urging -- ceased advertising with Thomas or substantially reduced
theit Thomas advertising and instead advertised through pay-per-click programs managed by
Pease Media. During the term of the License Agreement, Pease Media misled Thomas about its
pay-per-click marketing activities.

26, Upon information and belief, Pease, Montgomery, Underwood and Perez urged
and advised Thomas clients to refrain from continuing to advertise through Thomas or to
drastically reduce their advertising with Thomas -- in order to increase his or her own personal
compensation. Indeed, Pease, Montgomery, Underwood and Perez stood to profit personally
from their wrongful scheme as each would individually and personally profit by shifting amounts
Thomas customers spent on advertising from Thomas to the TopSpot pay-per-click programs.

27, Upon information and belief, Pease, Montgomery, Underwood, and Perez caused
and induced Pease Media to breach its obligations to PINI and Thomas by urging customers to
cease advertising with Thomas or substantially reduce their Thomas advertising and instead
advertise through pay-per-click programs managed by Pease Media.

Pease Media Breaches The License Agreement By Misusing Thomas’ Trade Secret Information

28. In connection with its License Agreement with Pease Media, in order to help
Pease Media solicit advertising for Thomas, PINI provided Pease Media with trade secret

information, including market research information. In the License Agreement, Pease Media

 
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agreed that such information was trade secret information proprietary to PINi and Thomas.

Paragraph 19 of the License Agreement reads, in part, as follows:
Licensee [Pease Media] shall not disclose, publish, proliferate or
copy or allow to be disclosed, published, proliferated or copied any
such “trade secret’ information except as specifically authorized
hereunder and except as is reasonably necessary in furtherance of
Licensee’s duties under this Agreement. Licensee will hold all
such ‘trade secret’ information in confidence and shall take all
reasonable measures to ensure that no unauthorized person shall
have aceess to said ‘trade secret’ information.

Exh. A419.

29,  Flowever, despite promising to keep PIN] and Thomas’ trade secret information
confidential and to use it only to further Thomas’ business interests, Pease Media used PINI’s
and Thomas’ information, including market research in promotional materials for TopSpot, in an
effort to promote Pease Media’s competing business and also to convince existing Thomas
advertisers to withdraw their business from Thomas and advertise through pay-per-click
programs.

30. Upon information and belief, Pease, Montgomery, Underwood, and Perez caused
and induced Pease Media to breach its obligations to PINI and Thomas by misusing PINI and
Thomas’ proprietary information,

Pease Media Breaches The Contract By Refusing To Repay Advances

31. The License Agreement also provided that PIN] may make advances to Pease
Media, to he charged against and deducted from Pease Media commissions. If advances
exceeded commissions, Pease Media was required to repay the advance. Paragraph 17 of the
contract states as follows:

PINI, at its discretion, may make advances to the Liconsce [Poasc

Media] from time to time. Such advances shall be charged against
commissions allocated and will be deducted from any payment that

 

 
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might result from the annual settlement described in paragraph
i5(d) above. If advances exceed commissions in any accounting
period, Licensee shall promptly refund the excess to PINI or
provide PINI at its request with an acknowledgement of the
amount owed.

Bxh.AG17.

32. During 2004, PINI did in fact give Pease Media advances under the parties’
License Agreement of more than $606,000. After subtracting Fease Media’s commissions for the
same period, at least $225,384.10 remains outstanding. ExhB (Commission Statement).
Although PINI had requested that Pease Media refund the excess advances as required by the
parties’ License Agreement, Pease Media has refused to do so. A trie and correct copy of the
Commission Slalemient is attached hereto as Exhibit B and incorporated by reference,

33. In accordance with the terms of the contract, PINI terminated its License
Agreement with Pease Media by letter dated Novernber 24, 2004:

FIRST CAUSE OF ACTION
(Breach of Contract}

34. Plaintiffs repeat and realiege each and every allegation pleaded in paragraphs 1
through 33, inclusive, set forth above, as if the same were set forth fully at length herein.

35. PIN? and Pease Media entered into a contractual License Agreement, under which
Pease Media agreed to solicit advertising for publications of Plaintiff Thomas.

36. The License Agreement barred Pease Media from engaging in work, businesses or
activities which conflicted with the services being cendered by Pease Media under the License
Agreement - Le. the solicitation of advertising for Thomas.

37, Pease Media breached the License Agreement by urging and soiiciting Thomas

customers to cease advertising with Thomas or to substantially reduce advertising with Thomas

and instead to advertise through pay-per-click programs.

 

 

 

 
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38. As a direct and proximate result of the breach by Pease Media, Plaintiffs have

been damaged in an amount in excess of the minimum jurisdictional limits of this Court.
SECOND CAUSE OF ACTION
(Breach of Contract)

39, Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs |
through 38, inclusive, set forth above, as if the same were set forth fully at length herein.

40. PINT and Pease Media entered into a contractual License Agreement, under which
Pease Media agreed to solicit advertising for publications of Plaintiff Thomas.

41, Under the License Agreement, Pease Media received considerable confidential
and proprietary information from PINI regarding Thomas’ business. In the Agreement, Pease
Media acknowledged and agreed that such information constituted trade secrets of PINI and
Thomas. i

42, Pease Media contracted to keep confidential Plaintiffs’ trade secret information,
acknowledged that it remained the property of Plaintiffs and agreed to use it solely and
exclusively in furtherance of Plaintiffs’ business. The License Agreement provided that Pease
Media’s contractual obligations regarding Plaintiffs’ trade secret information would survive
termination of the contractual relationship between Pease Media and PENI.

43. However, Pease Media used Plaintiffs’ trade secret information to solicit and

 

obtain customers for its competing internet business, and to convince longstanding customers of
Plaintifis to cease advertising with Thomas or substantially reduce their advertising with
Themas. Among other uses, Pease Media used PINI’s and Thomas’ marketing rescarch

information in the promotional materials for its competing business.

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44. Pease Media has retained Plaintiffs’ trade secret information and used it to further
its own business interests, in competition with Piamtiffs’ business interests, and in contravention
of the parties’ License Agreement.

45, By misusing Plaintiffs’ trade secret information outside the limited license
granted in the License Agreement, Pease Media has breached the parties’ License Agreement.

46. As a direct and proximate result of ihe breach by Pease Media, Plaintiffs have
been damaged in an amount in excess of the minimum jurisdictional limits of this Court.

THIRD CAUSE OF ACTION
(Tortious Interference with Contract)

47, Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs i
through 43, inclusive, set forth above, as if the same were set forth fully at length herein.

48, PINI and Pease Media entered into a contractual License Agreement, under which
Pease Media agreed to solicit advertising for publications of Thomas.

49. The License Agreement prevented Pease Media from engaging in any competing
business that conflicted with the business interests of Plaintiffs, obligated it to keep confidential
Plaintiffs’ trade secret information and use it only to further Plaintiffs’ business interests.

50. The License Agreement also required Pease Media to repay any amount of
advances that exceeded commissions in a given accounting period.

51. Pease, Montgomery, Underwood, and Perez knew of the contractual relationship
between Pease Media and PINI, for the benefit of Thomas.

52. Pease, Montgomery, Underwood, and Perez intentionally procured Pease Media’s

breach of its valid and existing contract with PINI, by inducing Pease Media to misappropriate

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Thomas’s frade secret information, pursuing business activities in unfair competition with
Plamtifis and causing Pease Media to breach its duty of loyalty to Plaintiffs.

33. Richard Pease intentionally induced Pease Media to breach its valid and existing
contract with PINI, by inducing Peace Media to convert advances made under the License
Agreement and/or converting the advances for himself,

54. Upon information and belief, Pease, Monigomery, Underwoed, and Perez induced
Pease Media to breach the License Agreement by wrongfully diverting Plaintiffs’ business to
Pease Media’s pay-per-click advertising business in order to increase his or her personal
compensation.

55. Upon information belief, Pease induced Pease Media to breach the License
Agreement and to convert advances owed by Pease Media to PINI in order to wrongfully
increase hig own personal compensation trom Pease Media.

56. By acting in a manner which increased each other’s personal compensation, but
which subjected Pease Media to lability, Pease, Montgomery, Underwood, and Perez were
acting for his or her own personal benefit and not acting for the benefit of Pease Media when
they induced Pease Media to breach its contractual relationship with PINI for the benefit of
Thomas.

57. Pease, Montgomery, Underwocd, and Perez conspired to procure Pease Media’s
breach of its valid and existing contract with PINI, by misappropriating trade secret information,
pursuing business activities in unfair competition with Plaintiffs to their detriment and causing
Pease Media tu breach its daty of loyalty to Plaintiffs.

58, Pease, Montgomery, Underwood, and Perez took one or more overt acts in

furtherance of their conspiracy to procure Pease Media’s breach of its valid and existing contract

 

 
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with PINT, by misappropriating trade secret information and pursuing business activities in unfair
competition with Plaintiffs to their detriment and causing Pease Media to breach its duty of
loyalty to Plaintiffs.

59. As a direct and proximate result of the actions and inactions of Pease,
Montgomery, Underwood, and Perez as described herein, Plaintiffs have suffered damages in
excess of the minimum jurisdictional limit of this Court,

FOURTH CAUSE OF ACTION
(Breach of Fiduciary Duty)

60, Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs 1
through 59, inclusive, set forth above, as if the same were set forth fully at length herein.

61. PENI and Pease Media entered into a contractual License Agreement, under which
Pease Media agreed to solicit advertising for publications of Thomas.

62. Pease Media was an independent contractor of PINI and has held a nonexclusive
license from PIN] to solicit advertising orders for Thornas publications for many years.

63. As an independent contractor engaged in the solicitation of advertising for

 

Plaintiffs, Pease Media owed Plaintiffs a fiduciary duty not to engage in competing business

 

interests while working as an independent contractor for Plaintiffs.

64, Richard Pease is an officer, director and majority shareholder of Poase Media,
Pease had a fiduciary duty not to cause Pease Media to engage in competing business interests
while working as an independent contractor for Plaintiffs.

65, Pease, Montgomery, Underwood and Perez, work as salespeople for Pease Media.
Peace, Montgomery, Underwood and Perez had a fiduciary duty not to cause Pease Media to

engage in competing business interests while working as an independené contractor for Plaintiffs.

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66. During its contractual relationship with Plaintiffs, through its agents Pease,
Montgomery, Underwood, and Perez, Pease Media actively engaged in competing business
ventures to the detriment of Plaintiffs, Pease Media actively disparaged Plaintiffs’ products to its

longstanding customers, and solicited them to reduce or discontinue their business dealings with

 

Plaintiffs and advertise through pay-per-click programs managed by Pease Media.

67. Upon information and belief, Pease Media successfully solicited Thomas
customers to discontinue or substantially reduce advertising with Plaintiffs and advertise through
pay-per-click programs instead.

68. By these actions, Defendants breached their fiduciary duty to Plaintiffs.

69. As a direct and proximate result of Defendants’ actions as described herein,
Plaintiffs have been damaged in an amount in excess of the minimum jurisdictional limit of this
Court.

FIFTH CAUSE OF ACTION
{Tortious Interference with Contract)

70. Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs |

through 69, inclusive, set forth above, as if the same were set forth fully at length herein.

7t. PINT and Pease Media entered into a contractnal License Agreement, under which

 

Pease Media agreed to solicit advertising for publications of Thomas.

72. The License Agreement prevented Pease Media from engaging in any competing

 

ousiness that conflicted with the business interests of Plaintiffs, obligated it to keep confidential
Plaintiffs’ trade secret information and use it only to further Plaintiffs’ business interests, and
required it to repay any amount of advances that exceeded commissions in a given accounting

period.

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73. Pease, Montgomery, Underweod, and Perez knew of the contractual relationship
between Pease Media and PIN], for the benefit of Thomas.

74 Pease, Montgomery, Underwood, and Perez interfered with that contractual
relationship and caused Pease Media to breach that License Agreement by using the trade secret
information and business reputation of Plaintiffs to solicit Plaintiffs’ customers to reduce or
discontinue their business relationship with Plaintiffs and advertise instead through pay-per-click
programs, by misappropriating trade secret information, by pursuing business activities in unfair
competition with Plaintiffs to their detriment and causing Pease Media to breach its duty of
loyalty to Plaintiffs, These actions caused Pease Media to breach its contractual relationship with
PINT for the benefit of Thomas.

73. Pease interfered with the License Agreement by causing Pease Media to convert

advances made to it and/or converting the advances for himself.

 

76, Upon information and belief, Pease, Montgomery, Underwood, and Perez
interfered with the License Agreement by wrongfully diverting Plaintiffs’ business to Pease
Media’s pay-per-click advertising business in order to wrongfully increase his or her own
personal compensation.

77. Upon information belief, Pease interfered with the License Agreement to convert

 

advances owed by Pease Media to PINI in order to wrongfully increase his or her own personal
compensation.

78. ‘By acting in a manner which increased each other’s personal compensation, but
which subjected Pease Media to liability, Pease, Montgomery, Underwood, and Perez were

acting for his or her own personal benefit and not acting for the benefit of Pease Media when

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they caused Pease Media to breach its contractual relationship with PINT for the benefit of
Thomas.

79. Pease, Montgomery, Underwood, and Perez intentionally, maliciously, and using
improper means, caused Pease Media to breach its contract with PINT.

80. Plaintiffs have heen damaged, in an amount in excess of the minimum
jorisdictional limit of this court as a direct and proximate result of the tortious interference of
Pease, Montgomery, Underwood, and Perez.

AS AND TOR SIXTH CAUSE OF ACTION
(Conspiracy to Breach Fiduciary Duty)

81, Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs |
through 80, inclusive, set forth above, as if the same were set forth fully at length herein.

82. PIN] and Pease Media entered into a contractual License Agreement, under which
Pease Media agreed to solicit advertising for publications of Thomas.

83, Pease Media was an independent contractor of PIN] and has held a nonexclusive
license from PINI to solicit advertising orders for Thomas publications for many years.

84. As an independent contractor engaged in the solicitation of advertising for
Plaintiffs, Pease Media owed Plaintiffs a fiduciary duty not to engage in competing business
interests while working as an independent contractor and agent for Plaintifés.

85. Defendants conspired to accomplish the unlawful objective of breaching Pease
Media's fiduciary duty to Plaintifis.

86, One or more of the Defendants committed an unlawful, overt act in furtherance of

the conspiracy.

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87, As a direct and proximate result of the Defendants’ conspiracy, Plaintiffs have

suffered damages in an amount in excess of the minimum jurisdictional limit of this Court.
SEVENTH CAUSE OF ACTION
{Breach of Contract)

88. Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs i
through 87, inclusive, set forth above, as if the same were set forth fully at length herein,

89, PINT and Pease Media entered into a contractual License Agreement, under which
Pease Media agreed tc sulicil advertising for publications of Thomas.

90. Under the License Agreement, PINI was permitted and in fact did provide Pease
Media with substantial advances in funds, against which Pease Media’s commissions were to be
credited. If at the end of any accounting period advances exceeded commissions, PINI had the
right to demand immediate repayment of the excess advances.

9}. In 2004, Pease Media’s advances exceeded its commissions by at ieast
$225,384.10,

92,  PINI timely demanded repayment of the excess advances. Pease Media refused

 

and breached its contractual License Agreement with PINT.
53, Plaintiffs have been damaged as a direct and proximate result of this breach in an
amount in excess of the minimum jurisdictional limit of this Court.
EIGHTH CAUSE OF ACTION

(Conversion)

 

94, Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs 1

through 93, inclusive, set forth above, as ifthe same were set forth fully at length herein.

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93. PINT and Pease Media entered inte a contractual License Agreement, under which

ease Media agreed to solicit advertising for publications of Thomas.

90. Under the License Agreement, PINT was permitted and in fact did provide Pease
Media with substantial advances in funds, against which Pease Media’s commissions were to be
credited, if at the end of any accounting period advances exceeded commissions, PINI had the
right to demand immediate repayment of the excess advances.

97. In 2004, Pease Media’s advances exceeded its commissions by at least
$225,384.10. PINI timely demanded repayment of the excess advances.

98. PINT has legal title to the amounts refunded, and at the end of the accounting
period, was entitled to immediate possession of those fimds.

o9. Pease Media refused to repay the advances, thereby unlawfully converting the
tunds,

100. At all times relevant to this lawsuit, Pease was an officer, director, and
majority shareholder of Pease Media.

101. Pease Media and/or Pease unlawfully converted funds to which PINI has legal
tithe and the right to immediate possession at the direction and through the actions of Pease,

102. Plaintiffs have been damaged in an amount in excess of the minimum
jurisdictional limit of this Court as a direct and proximate result of the actions and inactions of
Pease Media and Pease as described herein.

NINTH CAUSE OF ACTION
(Money Had and Received.)
103. Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs |

through 102, inclusive, set forth above, as if the same were set forth fully at length herein.

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104, PENI provided Pease Media with substantial advances in funds, against which
Pease Media’s commissions were to be credited. If at the end of any accounting period advances
exceeded commissions, PINI had the right to demand immediate repayment of the excess
advances,

105. In 2004, Pease Media’s advances exceeded its commissions by at least
$225,384.10, PINT has legal title to the amounts refunded,

106. PINI timely demanded repayment of the excess advances. Pease Media refused to
repay the excesa advances. Therefore, Pease Mcdia has reccived money belonging to Plaintiff
PINI, and has benefited from receipt and retention of that money.

107, Under the principles of equity and good conscience, Pease Media should not be
permitted to keep the money.

108. Plaintiffs have been damaged by Pease Media’s unlawful act in retaining the
excess advances in an amount in excess of the Court’s mininmum jurisdictional lirnit.

TENTH CAUSE OF ACTION

 

(Unfair Competition)

109, Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs 1
through 108, inclusive, set forth above, as if the same were set forth fully at length herein.

110. Defendants received confidential and proprietary information from PINI
regarding Thomas’ business, such as confidential and proprietary information concerning
Thomas advertisers and confidential and proprietary Thomas selling aids.

ill. In the License Agreement, Pease Media acknowledged and agreed that such

information constituted trade secrets of PINT and Thomas. Pease Media agreed to keep

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contidential Plaintiffs’ trade secret information, acknowledged that it remained the property of
Plaintiffs and agreed to use it solely and exclusively in furtherance of Plaintiffs’ business.

112. However, Defendants misappropriated Plaintiffs’ trade secret information, despite
their knowledge of the confidential nature of the information, to solicit and obtain customers for
its competing internet business TopSpot, and to convince longstanding customers of Plaintiffs ta
cease advertising with Thomas or substantially reduce their advertising with Thomas. Among
other uses, Pease Media used PINI’s and Thomas’ information about Thomas customers and
marketing research information in the promotional materials for Pease Media’s competing
business.

113. Defendants have retained Plaintiffs’ trade secret information and used it to further
their own business interests, in unfair competition with Plaintiffs.

il4. Plaintiffs have no adequate remedy at law.

115. Defendants have committed said wrongful acts knowingly, willfully, and in

reckless disregard of Plaintiffs’ rights, and therefore Plaintiffs are entitled to an award of

 

punitive damages.
ELEVENTH CAUSE OF ACTION
(Misappropriation of Trade Secrets)
'16. Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs 1
through 115, inclusive, set forth above, as if the same were set forth fully at length herein.
117. Defendants received confidential and proprietary information from PINI

regarding Thomas’ business such as confidential and proprietary information concerning Thomas

 

advertisers and confidential and proprietary Thomas selling aids.

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118. In the License Agreement, Pease Media acknowledged and agreed that such
information constituted trade secrets of PINI and Thomas. Pease Media agreed to keep
confidential Plaintiffs’ trade secret information, acknowledged that it remained the property of
Plaintiffs and agreed to use it solely and exclusively in furtherance of Plaintiffs’ business,

i19. However, Defendants misappropriated Plaintiffs’ trade secret information, despite
their knowledge of the confidential nature of the information, to solicit and obtain customers for
its competing internet business TopSpot, and to convince longstanding customers of Plaintiffs to
cease advertising with Thomas or substantially reduce their advertising with Thomas. Among
other uses, Pease Media used PINI’s and Thomas’ information about Thomas customers and
marketing research information in the promotional materials for Pease Media’s competing
business.

120, Plaintiffs have no adequate remedy at law.

121. Defendants have committed said wrongful acts knowingly, willfully, and in
reckless disregard of PINI’s rights, and therefore PINI is entitled to an award of punitive
damages.

REQUEST FOR PRELIMINARY INJUNCTION

122. Plaintiffs repeat and reallege each and every allegation pleaded in paragraphs 1
through 121, inclusive, set forth above, as if the same were set forth fully at length herein.

123. The License Agreement is unambiguous and is capable of being construed and
enforced by the Court as a matter of law.

124, Defendants’ acts and omissions described above constitute, inter alia,

misappropriation of trade secrets, breaches of the License Agreement and of Defendants’

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fiduciary duty to Plaintiffs. Accordingly, Plaintiffs have a probable right to the relief it seeks
upen tinal hearing,

125, Plaintiffs have been, and will continue to be, damaged and injured by the loss of
advertisers, loss of gocdwill, disruption of business, and misappropriation of Plaintiffs’
confidential information.

126. The harm to Plaintiffs is continuing and ongoing, and Plaintiffs will, in all
likelihood, continue to lose clients and experience further injury to its goodwill and
misappropriation of its confidential information unless Defendants are enjoined from continuing
to violate the License Agreement.

127, Plaintiffs will suffer irreparable harm, including but not limited to costs, delay,
and the cisruption of its business, and the misappropriation of its confidential information, if
Defendants are not enjoined from continuing to violate the License Agreement,

128, Plaintiffs have no adequate remedy at law. Among other things, Defendants have
or had in their possession Plaintiffs’ confidential information, such as the market research and
other identifying information pertaining to Plaintiffs’ customer base, which Defendants
misappropriated in violation of their express obligations under the Agreement and from whom
Defendants have wrongfully solicited business and is continuing to solicit business. Defendants’
conduct, if not enjoined, will render Plaintiffs’ confidential information valueless and will
damage both Plaintiffs’ goodwill with its customers and its business reputation. The damages to
Plaintiffs from these injuries are impossible to fully calculate.

129. Also, Defendants’ conduct threatens irreparable injury to Plaintiffs’ confidential

and proprietary selling aids, in which Plaintiffs have a property interest.

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130. The threatened harm to Plaintiffs from Defendants’ conduct outweighs any harm
that injunctive relief would cause Defendants, and the requested injunctive relief is in the public
interest,

i31.  Plaintifiis are willing to post a necessary bond.

132. Plaintiffs therefore request that this Court enter a preliminary injunction in the
form to be provided and that such injunction remain in full force and effect pending the final trial
on the merits of this action. Specifically, Plaintiffs request that the Court enter a preliminary
injunction enjoining Defendants from directly or indirectly using Plaintiffs’ confidential
materials, including its proprietary selling aids, for soliciting and obtaining customers for its
competing internet business and from contacting longstanding customers of Plaintiffs in an effort
to convince them to cease or reduce their advertising with Plaintiffs.

REQUEST FOR PERMANENT INJUNCTION

133. Plaintiffs ask the Court to enter a permanent injunction against Defendants
following a trial on the merits,

CONDITIONS PRECEBENT

134. All conditions precedent have been performed or have occurred.

WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that
Defendants be cited to appear and answer herein, that this Court grant Plaintiffs a preliminary
and permanent injunction barring Defendants from making use of Plaintiffs’ trade secrets; and
tat upon final hearing, Plaintiffs have and recover judgment against Defendants for all actual
and consequential damages in excess of the minimum junsdictional limits of this Court arising
from the actions described herein, plus exemplary damages against Defendants, plus reasonable

and necessary atlorney’s fees, pre- and post-judgment interest as allowed by law, cosis of court,

 

 
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and for such other and further relief, both general and special, at law and in equity, as the Court

shall deem just and proper and to which Plaintiffs may show themselves justly entitled,

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Respecthuily submitted,

JACKSON WALKER L.L.P.
1401 McKinney, Suite 1900
Houston, TX 77010

(713) 752-4200

(713) 752-4221 ~ Fax

Email chakeack@iw.com

   

 

Charled’,. Babcock

Charley kc aboocke
Cedric D. Scott

State Bar No, 24013474

OF COUNSEL:

SATTERLEE STEPHENS BURKE &
BURKE LLP
James F. Rittinger
Thomas J. Cahill
Walter Saurack
30 Park Avenue, Suite 1130
New York, NY 10169
Telephone: (212) 818-9200
Facsimile: (305) 379-3428

ATTORNEYS FOR PLAINTIFFS THOMAS
INDUSTRIAL NETWORK, INC, AND
PRODUCT INFORMATION NETWORK,
INC,

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